       CASE 0:16-cv-00139-DWF-LIB Document 66 Filed 08/17/17 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA


NATIONAL CREDIT UNION
ADMINISTRATION BOARD, As                                   Civil No. 16-cv-00139 DWF/LIB
Liquidating Agent of St. Francis Credit Union,

                      Plaintiff,                            [PROPOSED]
                                                    ORDER DENYING DEFENDANT’S
        v.                                              MOTION TO COMPEL

CUMIS INSURANCE SOCIETY, INC.,

                      Defendant.


        This matter came before the Court on Defendant CUMIS Insurance Society, Inc.’s

motion for an order to compel Plaintiff National Credit Union Administration Board to produce

certain emails withheld as privileged.

        Based on all relevant briefs, records, and proceedings, IT IS HEREBY ORDERED: that

Defendant’s motion for an order to compel is DENIED.



                                                   BY THE COURT:


Dated: ____________, 2017                          ________________________________
                                                   The Honorable Leo I. Brisbois
                                                   Magistrate Judge




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